                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION

 B.P., et al.,

                 Plaintiffs,

 v.                                                     No: 2:23-cv-00071-TRM-JEM



 CITY OF JOHNSON CITY,
 TENNESSEE, et al.,

             Defendants.
 __________________________________/


                               DECLARATION OF VANESSA BAEHR-JONES

         I, VANESSA BAEHR-JONES, declare under penalty of perjury that the foregoing is true

 and correct:

      1. I am over twenty-one years of age and am competent in all respects to give this

         Declaration. This Declaration is given freely and voluntarily. I have personal knowledge

         of the foregoing matter and could, and would, testify competently thereto under penalty

         of perjury.

      2. I am lead counsel for Plaintiffs B.P., et al., in the above-referenced case. I am a licensed

         attorney in good standing in the State of California (CABN 281715) and admitted to

         appear pro hac vice in this District.

      3. During the deposition of City Manager Cathy Ball, Plaintiffs learned—for the first

         time—that Ball had entered into a real estate contract with Sean Williams in April 2022.

         On June 12, 2024, Plaintiffs requested Defendant City produce these records no later than

         June 18, 2024, as the records were responsive to Plaintiffs’ Request for Production No. 2


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       for all documents relating to Williams, which Plaintiffs had served on the City on

       December 21, 2023. Defendant City did not respond. On June 24, 2024, Plaintiffs

       provided another deadline of June 26, 2024. Defendant City again did not comply and

       disputed that the records were responsive to Plaintiffs’ requests.

    4. Ball held a press conference on June 26, 2024, during which she disclosed the fact her

       real estate deal with Williams herself, claiming to do so for purposes of “transparency.”

    5. At the demand of Counsel for the City, Plaintiffs filed the redacted deposition transcript

       of Cathy Ball provisionally under seal on June 14, 2024, and additionally redacted any

       information concerning Ball’s real estate deal with Williams from the public version of

       that filing. See ECF 221, 222.

    6. Defendants Turner, Peters, Sparks, and Jenkins refused to produce anything responsive to

       RFP #7 and Rog #9.

    7. All Defendants objected to producing bank statements in response to RFP #11, and to

       date, Plaintiffs have received no financial records for any of the Defendants.

    8. Defendants Jenkins produced incomplete responses to RFP # 1, failing to produce any

       Facebook Marketplace receipts for sales of his assets.

    9. To date, Defendants have either refused to produce the relevant financial records,

       produced incomplete responses, or offered only excerpted or time-limited records.

    10. Plaintiffs have requested receipts for Jenkins’ Facebook Marketplace purchases, but thus

       far, have received no Facebook Marketplace documents showing the sales.

    11. Defendant City has produced Renasant Bank records for Williams and GCC for the years

       2016-2022, which were inexplicably in the custody of JCPD in 2022. Counsel for the




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       City has represented to Plaintiffs’ counsel that the City cannot find the subpoena that

       would have resulted in JCPD receiving these records.

    12. Defendants Turner, Peters, and Sparks have failed to respond to Plaintiffs’ Interrogatories

       completely, so Plaintiffs cannot assess their total asset purchases over the relevant time

       period.

    13. Defendant City has refused to use an outside vendor, or in the alternative conduct an in-

       person, attorney-led search, to extract data from Defendants’ JCPD-issued cell phones.

       Instead, the City used JCPD officer David Hilton, a potential co-defendant, to conduct

       extractions from Turner’s and Peters’ cellphones. The City has represented that JCPD

       Officer Henard conducted the extractions for the remaining Defendants.

    14. Plaintiffs agreed not to issue subpoenas to cellphone providers to obtain Defendants’ call

       logs, instead agreeing to allow defense counsel to subpoena these records themselves so

       they could redact call log information between Defendants and their counsel. Plaintiffs

       have asked defense counsel to produce these call logs with only the numbers for counsel

       redacted and have additionally narrowed their request to specific time windows. Defense

       counsel have still not produced the records and counsel for Sparks has asked for an

       additional meet and confer on the issue.

    15. It appears that Defendant Turner’s production of cellphone communications is not

       complete. Plaintiffs have yet to receive any productions of cellphone communications

       from Defendants Legault and Higgins, even though Higgins’ deposition has passed.

    16. Beginning on March 8, 2024, Plaintiffs engaged in an extensive meet and confer process

       on their requests for Defendants’ tax returns and bank records. After several months of

       back and forth, on May 15, 2024, counsel for Defendant Sparks offered to produce



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       limited and incomplete records, showing only deposits for a limited time window and

       monthly summaries of total withdrawals and deposits. Counsel for Jenkins, Legault, and

       Higgins also offered to produce records for a limited time window. All other Defendants

       have refused to provide any financial records, including tax and bank records.

    17. Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ First Set of

       Interrogatories and Requests for Production of Documents to Defendant Karl Turner.

    18. Attached hereto as Exhibit 2 is a true and correct copy of Plaintiffs’ First Set of

       Interrogatories and Requests for Production of Documents to Defendant Kevin Peters.

    19. Attached hereto as Exhibit 3 is a true and correct copy of Plaintiffs’ First Set of

       Interrogatories and Requests for Production of Documents to Defendant Toma Sparks.

    20. Attached hereto as Exhibit 4 is a true and correct copy of Plaintiffs’ First Set of

       Interrogatories and Requests for Production of Documents to Defendant Justin Jenkins.

    21. Attached hereto as Exhibit 5 is a true and correct copy of Plaintiffs’ Second Set of

       Interrogatories and Requests for Production of Documents to Defendant Karl Turner.

    22. Attached hereto as Exhibit 6 is a true and correct copy of Plaintiffs’ Second Set of

       Interrogatories and Requests for Production of Documents to Defendant Kevin Peters.

    23. Attached hereto as Exhibit 7 is a true and correct copy of Plaintiffs’ Second Set of

       Interrogatories and Requests for Production of Documents to Defendant Toma Sparks.

    24. Attached hereto as Exhibit 8 is a true and correct copy of Plaintiffs First Set of

       Interrogatories and Requests for Production of Documents to Defendant Jeff Legault.

    25. Attached hereto as Exhibit 9 is a true and correct copy of Plaintiffs’ First Set of

       Interrogatories and Requests for Production of Documents to Defendant Brady Higgins.




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    26. Attached hereto as Exhibit 10 is a true and correct copy of Plaintiffs’ Second Set of

       Interrogatories and Requests for Production of Documents to Defendant Justin Jenkins.

    27. Attached hereto as Exhibit 11 is a true and correct copy of Plaintiffs’ Third Set of

       Interrogatories and Requests for Production of Documents to Defendant Justin Jenkins.

    28. Attached hereto as Exhibit 12 is a true and correct copy of Plaintiffs’ First Set of

       Requests for Production of Documents to Defendant Johnson City.

    29. Attached hereto as Exhibit 13 is a true and correct redacted copy of Defendant Karl

       Turner’s Responses to Plaintiffs’ Second Set of Interrogatories and Requests for

       Production of Documents.

    30. Attached hereto as Exhibit 14 is a true and correct redacted copy of Defendant Toma

       Sparks’ Responses to Plaintiffs’ Second Set of Interrogatories and Requests for

       Production of Documents.

    31. Attached hereto as Exhibit 15, and filed provisionally under seal, is a true and correct

       redacted copy of Defendant Kevin Peters’ Response to Plaintiffs’ Second Set of

       Interrogatories and Requests for Production of Documents. While I do not see any basis

       justifying a motion to seal this document, counsel for Peters indicated that he would file a

       motion for contempt if Plaintiffs’ counsel filed this document publicly.

    32. Attached hereto as Exhibit 16 is a true and correct redacted copy of Defendant Justin

       Jenkins’ Responses to Plaintiffs’ Second Set of Interrogatories and Requests for

       Production of Documents.

    33. Attached hereto as Exhibit 17 is a true and correct copy of excerpts of the redacted Brady

       Higgins’ deposition transcript.




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    34. Attached hereto as Exhibit 18 is a true and correct copy of a document provided in

       discovery by Defendant City and marked as CITY-0141599.

    35. Attached hereto as Exhibit 19 is a true and correct copy of the redacted Female 4’s

       deposition transcript.

    36. Attached hereto as Exhibit 20 is a true and correct copy of Renasant bank records for

       Skyline Restoration and Manufacturing LLC, filed under seal.

    37. Attached hereto as Exhibit 21 is a true and correct copy of a rough transcript prepared of

       Cathy Ball’s June 26, 2024, press conference. The video from which the transcript was

       transcribed is available at: https://www.wjhl.com/news/local/sean-williams-case/jc-

       manager-was-in-contract-to-buy-sean-williams-condo-backed-out-when-learning-

       fugitive-status/.

    38. Attached hereto as Exhibit 22 is a true and correct copy of the redacted Cathy Ball

       transcript.

    39. Attached hereto as Exhibit 23 is a true and correct copy of Washington County tax

       records for Williams’ penthouse apartment, 200 E. Main Street, Unit 5, Johnson City, TN.

    40. Attached hereto as Exhibit 24 is a true and correct copy of the redacted Eric Daigle

       transcript.

    41. Attached hereto as Exhibit 25 is a true and correct copy of the audit trails for Female 2’s

       case file.

    42. Attached hereto as Exhibit 26 is a true and correct redacted copy of the police report for

       Female 2.

    43. Attached hereto as Exhibit 27 is a true and correct copy of the audit trails for B.P.’s case

       file.



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    44. Attached hereto as Exhibit 28 is a true and correct redacted copy of the case file for B.P.

    45. Attached hereto as Exhibit 29, and filed under seal, is a true and correct copy of excerpts

       of the Kevin Peters deposition transcript from the Dahl litigation. While I do not see a

       basis for filing these excerpts under seal, I do not have authority to de-designate, or to

       move to de-designate, deposition transcripts in the Dahl case. To my knowledge, the

       transcript remains designated “Confidential” under the Protective Order in that case.

    46. Attached hereto as Exhibit 30 is a true and correct copy of records of the billable hours I

       spent preparing this motion and corresponding declaration and exhibits. These hours total

       12.5.

    47. Attached hereto as Exhibit 31, is a true and correct copy of an email chain between

       Plaintiffs’ counsel and counsel for the City concerning Defendant Turner’s discovery

       production.

    48. Attached hereto as Exhibit 32, and filed under seal, is a true and correct copy of

       Defendant Jeff Legault’s responses to Plaintiffs’ first set of interrogatories and requests

       for production of documents.

    49. Attached hereto as Exhibit 33 is a true and correct redacted copy of the case notes for

       Female 8.

    50. Attached hereto as Exhibit 34 is a true and correct copy of the audit trails for Female 8.

    51. Attached hereto as Exhibit 35 is a true and correct copy of the audit trails for Female 12.

    52. Qualifications. I have been licensed to practice law in the State of California since 2011.

       I am, and have been, in good standing with the state bar. There are no matters currently

       pending in any Bar Association concerning me.




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          a. I am the founding partner of Advocates for Survivors of Abuse PC (“Advocates”), a

             law firm specializing in representing survivors of sexual assault, exploitation, and

             trafficking. I began my legal career clerking for federal judges on the District Court for

             the Central District of California and the Ninth Circuit Court of Appeals. I then served

             as a federal prosecutor for approximately eight years in the Central and Northern

             Districts of California. During that time, I prosecuted complex sex trafficking and

             child exploitation cases, and led global investigations into websites that targeted

             children. I was selected to serve as the Project Safe Childhood Coordinator for the

             Central District of California from 2016 – 2018. In this role, I was responsible for all

             federal child exploitation prosecutions in the Central District of California, a seven-

             county area with a population of approximately 18 million. I trained new federal

             prosecutors on investigating and charging distribution and receipt of child pornography

             over peer-to-peer networks; advised prosecutors litigating highly technical motions

             relating to computer forensic evidence; and coordinated nation-wide investigations into

             online child exploitation and sex trafficking conspiracies. I also served as lead federal

             representative to Los Angeles County’s Internet Crimes Against Children Task Force,

             working with supervisory officers and agents in the Los Angeles Police Department,

             the FBI, and other federal agencies to train law enforcement on best practices in child

             exploitation investigations and to develop federal cases. As a prosecutor, I gained

             extensive experience conducting jury trials in federal court, including three

             international child sexual exploitation trials involving dozens of foreign witnesses and

             the presentation of complex computer forensic evidence.




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           b. Since founding Advocates in 2021, I have represented victims in seeking criminal

               restitution, and in bringing state and federal civil claims for sexual abuse and assault,

               sex trafficking, and for online child exploitation. Specifically, my practice specializes

               in bringing federal civil claims under 18 U.S.C. §2255 for victims of online child

               exploitation and federal civil claims under 18 U.S.C. § 1595 for victims of sex

               trafficking. This litigation uses my expertise in alleging and proving crimes proscribed

               in Chapters 77 and 110 of the United States Code, expertise which I developed during

               my career as a federal prosecutor.

    53. My normal hourly rate for fees is $750.00 which is commensurate with that of other attorneys

       in the San Francisco Bay Area of my tenure representing survivors in plaintiffs’ litigation.

    54. There is video recording of Defendant Higgins’ interviews with Female 8 on July 15, 2022,

       and September 19, 2022. I have reviewed each video recording. During her interview on July

       15, Female 8 told Defendant Higgins that she saw images on Williams’ phone which depicted

       Williams’ penis in the mouths of children. She also told him about specific minors whom she

       suspected Williams may have been targeting.



       This is the 27th day of June 2024.

                                                      /s/ Vanessa Baehr-Jones
                                                      VANESSA BAEHR-JONES




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                                      CERTIFICATE OF SERVICE

         I HEREBY certify that a copy of the foregoing has been filed and served via the court's

  electronic filing system on June 27, 2024 to counsel of record:

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                                                      Counsel for Justin Jenkins in his individual
                                                      capacity, Jeff Legault in his individual
                                                      capacity and Brady Higgins in his individual
                                                      capacity

                                                       /s Julie C. Erickson
                                                       Julie C. Erickson

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